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BACKGROUND FACT SUMMARY

Affidavit: I hereby swear: under penalty of the laws of the United
States that the following is trulé and correct to the best of my

knowledge and belief. (28.0. S.C. § 1746) .
mo Signed:

Dated:

 

1) I was sentenced to 188 months in Federal prison for violation
of. 846(a) Conspiracy To Possess With Intent To Distribute 50
or More Grams Of Cocaine Base. (Case No. 09-CR-676-NAM)

‘2) On/ about January’ 2013, I was transferred’ to FCI Schuylkill in

Minersville, PA. I was housed in Unit SA.

3) On/ about June 2016 Counselor Gerry. Telemantes assigned me the

» head orderly: position. “ One: of: my various” duties involved« working “~~

in the Unit Office area.

4) On/ about August 2016 Katie Foulds started working in the Unit

3A Office area as a secretary.

5) Sometime thereafter, I had written.a letter to my senten'ting
Judge regarding an amendmen'!t to the Guidelines that could .
afford a sentence reduciton. I took’ the letter to Mrs. Foulds
and asked if she could check if my grammar and spelling were in
order. She agreéd so I left the letter with her.
 

6)

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When I returned to pick up the letter, we had a discussion about

the grammar/ spelling and its subject matter. Mrs. Foulds also

asked me what prison was all about, which we also discussed.

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Unbéeknowst to me at that time, Mrs. Foulds had sexual issues in

her mind. It was a few days later, when she gave me a compliment
on how nice I looked in my khaki uniform. I told her thank you,

at that point in time believing she was just being nice.

Over the course of the next three weeks ‘she told me that she was

very attracted to me. I honestly didn't know what to say.

For the next week or so I stayed clear of Mrs. Foulds. However,
as head orderly I had to work in her area. Her sexually based

- comments continued.

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12)

Shortly thereafter Mrs. Foulds again caught me off-guard, so

to speak, ‘when. she told me of her husbands' infidelities while
she was pregnant with their second child. She also told me that
her and her husband were swingers and that one of their sessions
involved a black man. That she enjoyed that swinging session
and wanted another. She then told me that she had. feelings for
me and she got wet thinking about me.

‘She went on to tell me that her husband's infidelity took place

with another woman who was the mother of his child. That

although they were swingers, he promised not to have sex

without her being present and involved. She said she was going
to get him back for lying, and hurting her.

That weekend, Saturday morning, she told me to follow her into
the counselor's office. She said she had to catch up on some
of her work. Once in the office she locked the door. On the

weekends no one else was working in the office area.
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She told me that we are having sex. That. if I didn't, she would
scream rape. I was scared to death and she knew it. She said
who do you think they will believe, a black crack dealer serving

federal prison time or a white federal employee? We had sex and

'I did everything she wanted. I was scared to death. I Figured: if.

we got caught they would beat me nearly to death. I then knew
that she was not right in the head, that she had some type of

sex-addiction.

When. we finished ‘she ‘told me that. if I ‘said anything to anyone
she was going to tell them that I threatened to. have her family

killed if-she. didn't have sex with me. I knew she was ‘serious

about that. I found myself in a bad situation. I had been raped
and didn't know how to handle it.

Following that encounter I avoided her for the next three weeks.

_ However, she eventually called me into. her office and apologized.

46)

 

17)

She gave me some fresh baked muffins and some food from the
officers méss-hall. I accepted her apology and the food. I didn't
want to upset her because of her previous threats. .

Shortly thereafter she told me that she told her husband that
she was messing with an inmate. I was convinced she was crazy
and I was scared to death. I asked her why would you do something

like that. °She’replied ‘that she’ wanted to hurt him like: he had’

hurt her, by having sex with another woman. I was being used by
this crazy lady to get revenge on her husband. I then begged
her to tell her husband that she.was lying to him just to hurt

him.

She did tell me at a later date, that she told her husband that
she was lying. to him, that I didn't have to worry about that.
However, she then told me that she was in love with me. I- felt
that I had to pretend to be in love with her because I didn't
know what she was going to do if I rejected her.
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In the back of my mind I thought that if she does feel I don't
love her and reject her in any way that she will tell someone.

I had raped her, using the threat of killing her family. Who

will they believe if it comes to that? Her as a married white
woman with children, or me as a black crack dealer with a lengthy
criminal record. I was scared to death. I figured I would get

beat down and end up with a life sentence in prison.

What followed were numerous sexual encounters. I can recall at

least ‘twelve quicky sexual intercourse sessions. There were

four sessions on the weekends which lasted an hour or so each.

~ She always wanted more. Giving me blow-jobs,:asking-me-to perform ~-

oral sex on her too.

With each and évery sexual advancement by her I knew that she
was one step away from screaming rape, which she was going to
say was because of threats I made to have her family killed if
she didn't do what I, told her to do.

I ‘literally felt like a prostitute, her personal prostitute

with no way out.

Fortunately, on/ about 6-17-2017 the sexual abuse came to an
end. I was taken to lock-down (S.H.U.) Captain Nye advised me

““it-was above his: pay-grade to tell’ me why*I was being. locked ~«

up. I was scared to death.

Intially I was questioned by the Associate Warden who I lied
to because of what Mrs. Foulds had said she was going to say
if ever caught. This transpired on 6-17-2017 (on/ about). I~
did not know how to best handle the situation. I was in fear
for my safety and well being. I had good cause to be fearful.

Also on/ about 6-17-2017 I was questioned by two men from the
Department of Justice. The whole time they were questioning me
AW and SIS Lieutenent were there and mean-mugging me with looks

that led me to believe if I said anything I would be dead.
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I was scared of all the circumstances that had developed.
Especially the threats Mrs. Foulds saying I raped her by using

the threat of having someone kill her family.

True to Mrs. Foulds threats, the two men from the DOJ advised

me that Mrs. Foulds had told them I had raped her by using the

threats of having someone kill her family.

The two men from the DOJ also told me that they didn't believe.
her, that somehting from her story. didn't add up. Still, I did
not tell them anything, in part, for fear of what may happen .
if I do, especially considering the AW and SIS Lieutenants’ —

threatening looks.

On/ about 6-19-2017 my Unit Manager Mr. Raup told me that Mrs.
Foulds came to the prison and admitted everything, and then
resigned. That she left the prison accompanied by her husband
and she would not be back. She admitted to having sexual
intercourse with me, per advisement of Mr. Raup. To date, I do
not know the actual details of her admissions. I believe she

Limited what facts she told them.

28)

This is the point in time that various types of retaliation were |

brought against me. Starting with being roughed- up by the CO's

“int my cell. At one point, ‘being | ‘slammed really hard on the floor

on my left side. I was bruised up pretty good, but they did not

hit me in the face where it would show. The numerous transfers’

that followed were more retaliation.

-On/ about 6-19-2017 I was taken to a hospital in Lewisburg, PA

where they used some type of Rape Test Kit on me. I also had
spoken to an Advocate for rape victims. ‘They had evidently

advised, (the BOP Officials) that I was a rape victim. I was
treated as such at the hospital. Still, I do not know the extent ©
of the actual facts that Mrs. Foulds admitted to. I also talked
 

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with the Rape-Sex Abuse Organization at the Hospital in
Minersville, PA on/ about 6-19-2017.

On/ about 6-21-2017 I was transferred to FCI Fairton, NJ.

- Shortly after arrival the SIS Lieutenant, Mr. Smith threatened
to "fuck me up" if I even look at a female, and find myself
facing assault charges. I stayed in Fairton for approximately

two months. In fear the whole time.

Onf/ about August-September 2017 I was transferred to FDC
Philadelphia where I stayed for about three weeks in the SHU.

“More retaliation. While there my left upper leg was still.

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hurting from when I got slammed while at Skuylkill. I had
advised medical that my leg was hurting. The medical official
acted like I was lying. They didn't even look at my leg.

On/ about September-October 2017 I was again transferred. In
part, because I was not supposed to be in the SHU, I should have
been in population. They transferred me to Brooklyn MDC.

The very next day at Brooklyn MDC my leg swelled up really bad,
the pain was unbelievable. They eventually rushed me to a
hospital in downtown Brooklyn, where I was admitted to the
emergency room. The next day they discovered a massive blood

clot in my left thigh which was caused from the damage I

recieved from being slammed while at Schuylkill. I was treated

and advised I would need blood thinners the rest of my life.

Shortly thereafter, I was transferred to FCP Canaan and then
taken to FCI McKean, PA. Which took place on/ about October;
November 2017. McKean could not handle my medical conditions
so I was taken back to FCP Canaan where I stayed approximately

three weeks before being redesignated to FCC Allenwood.
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35) I tried to explain to Counselor. Newton at FCP Canaan that I
could not be at FCC Allenwood because Mrs. Foulds' mother. works
there. I told the Counselor I was gravely | concerned. He would
lnot listen and I was transferred to FCC Allenwood.

36) When I arrived at Allenwood I advised both, Lieutenant Cian and
“ §IS Lieutenant Reedy that I should not be there because Mrs.

‘Foulds ' mother worked there. They gave me the now, usual verbal

threats and placed me in general population. I was in fear from

‘further retaliation.

37) About one week Later’ I was placed in the SHU under involuntary ~
protective custody. This stemmed from a bogus shot (disciplinary
report) that was later dismissed because it was, in fact, bogus.
‘They would not let me back out into population for apparent
‘reasons, i.e., Mrs. Foulds’ mother working there. I stayed in

the SHU until I was redesignated and trasferred.

38) Also while I was being housed in Allenwood I had another
consultation with’a Rape-Sex Abuse Counselor which transpired
on/ about 11-12-2017. Unfortunately Iwas having a very hard
time and had suicidal issues, resulting in additional counseling ™

and treatment with medications, Prozac and Buspirone.
|

39) On/ about’ January 2018 I was transferred to FCI Terre Haute,
Indiana. In part, because of the blood clot and related: blood
thinners I have to take the remainder of my life. Once again,
upon arrival I reclleved the now, usual verbal threats related
to the rape at Schuylkill. Every institution I have been to
makes me feel as if I had committed the rape.

 

40) r _am currently housed at FCI Terre Haute and Living in general

population.
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41) Due to the overall facts and circumstances addressed in this...

fact summary, my family and I have been in contact with some

attorneys who handle civil cases.

We are seeking competent

counsel and will be proceeding accordingly.

-42) Please note, the aforementioned facts are a fairly good outline.
However, the detailed facts that may have to be disclosed to a

jury are much more extensive.

I am praying that this matter can

be resolved without a jury trial in Federal court.

 

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CLAIM FOR DAMAGE, INSTRUCTIONS: Please read carefully the instructions onthe | FORM APPROVED
reverse side and supply information requested on both sides of this OMB NO. 1105-0008
/ | INJURY, OR DEATH form. Use additional sheet(s) if necessary.. See reverse side for .

 

additional instructions.

 

 

 

 

|
| : :

1, ' Submit to Appropriate Federal Agency: : 2. Name, address of claimant, and claimant's personal-representative
Regiona L Director if any. (See instructions on reverse). Number, Street, City, State and Zip
2nd Chestnut ST _ f code.

7 th Flr | Branford, Jermaine 12474-052
Philadelphia, PA 19106 Post Office Box 33
F Terre Haute, IN 47808
3. TYPE OF EMPLOYMENT 4, DATE OF BIRTH |[5. MARITAL STATUS]|6. DATE AND DAY OF ACCIDENT 7. TIME (A.M. OR P.M.)
Cy MILITARY [| CIVILIAN Single 06/17/2017 UNK:

 

 

 

 

8. BASIS OF CLAIM (Siate in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved,
he place of occurrence and the cause thereof, Use additional pages if necessary).

7 we cee _ SEE ATTACHED

 

9, | , PROPERTY DAMAGE

| vo
NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT. (Number, Street, City, State, and Zip Code).

de eee a NVA

BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See insttuctions on reverse side).

| | : N/A

40. | , to PERSONAL INJURY/WRONGFUL DEATH

 

 

 

 

: I
STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
OF THE INJURED PERSON OR DECEDENT.

 

 

 

 

 

 

| | SEE ATTACHED
|
11. | WITNESSES

| NAME . ADDRESS (Number; Street, City, State, and Zip Code)
|

12, (See instructions on reverse). AMOUNT OF CLAIM (in dollars)

12a. PROPERTY DAMAGE ‘12b, PERSONAL INJURY 12c. WRONGFUL DEATH 12d. TOTAL (Failure to specify may cause

. forfeiture of your rights).
$2, 000,000.00 © $2,000 ,000.00

 

 

 

 

{CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.

 

 

 

 

 

 

 

 

13a. , SIGNATURE OF CLAIMANT (See instructions on reverse side). 13b. PHONE NUMBER OF PERSON SIGNING FORM|14. DATE OF SIGNATURE
esas Lond d N/A. . 7 ody
CIVIL PENALW FOR PRESENTING : CRIMINAL PENALTY FOR PRESENTING FRAUpULENT
| ss ’ FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMEN
|
The claimant | Is itable to the United States Government for a civil penalty of not less than Fine, imprisonment, or iy, 1 287, 1091.)
$5,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Governiment.: (See 31 U.S.C. 3729), ~ :
‘ ie . .
Authorized for Local Reproduction NSN 7540-00-634-4046 STANDARD FORM 95 (REV. 2/2007)
| = = -
Previous Edition is not Usable PRESCRIBED BY DEPT. OF JUSTICE

95-109 , , 28 CER 14:2
“

= Case 1:19-cv-01023-CCC-CA Document 1 Filed 06/17/19 Page 36 of 54°

 

d

INSURANCE COVERAGE

 

In order ¢

hat subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property.

 

15. Do you carry accident Insurance? [7] - Yes

lf yes, give name and address of insurance company (Number, Street, City, State, and Zip Code).and-policy number.

E-No

—_—

 

16. Have you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible?

Cl Yes [a“No | 17. Ifdeduetible, state amount.

 

a N/A

 

18. If a claim has been filed with your carrier, what action has your insurer taken or proposed to take with reference to your claim? (Itis necessary that you ascertain these facts).

N/A

 

18. Do you carry public liability and property damage insurance? oO Yes If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code). Olen |

 

Claims

claim form.

A-CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL

AGENCY RECEIVES FROMA CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.

REPRESENTATIVE, AN EXECUTED STANDARD FORM 85 OR OTHER WRITTEN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY

Failure to completely execute this form or to supply the requested material within
two years from the date the claim accrued may render your claim invalid. A claim
is deemed|presented when it is received by the appropriate agency, not when it is
mailed.

If instruction is needed in completing this form, the agency listed in item #1 on the reverse
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be-found in-Title 28, Code of Federal Regulations, Part 14.~
Many agencies have published supplementing regulations. If more than one agency is
involved, please state each agency.

The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express

authority to act for the claimant. A claim presented by an agent or legal representative

must be presented i in the name of the claimant. If the claim is signed by the agent or
legal representative, it must show the title or legal capaclty of the person signing and be
accompanied by evidence of his/her authority to present a claim on behalf of the claimant

as agent, ™ administrator, parent, guardian or other representative.

 

If claimant intends to file for both personal injury and property damage, the amount for
each must be shown in item number 12 of this form. .

INSTRUCTIONS
presented under the Federal Tort Claims Act Should be submitted directly to the “appropriate Federal agency" whose _
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a seperate

Compiete ail items - Insert the word NONE where applicable.

DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL

THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
TWO YEARS AFTER THE CLAIM ACCRUES.

The amount claimed should be substantiated by competent evidence as follows:

(a) In support of the claim for personal injury or death, the claimant should:-submit a
written report by the attending physician, showing the nature and extent of the injury, the
nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
hospital, or burial expenses actually incurred.

(b) In support of claims for damage to property, which has been or can be economically
_Tepaired, the claimant should submit at least two itemized signed statements or estimates
by reliable, disinterested concerns, or, if payment has been made, the itemized signed

receipts evidencing payment.

(c) In support of claims for damage to property which is not economically repairable, or if
the property is lost or destroyed, the claimant should submit statements as to the original
cost of the property, the date of purchase, and the value of the property, both before and
after the accident. Such statements should be by disinterested competent persons,
preferably reputable dealers or officials familiar with the type of property damaged, or by
two or more competitive bidders, and should be certified as being just and correct.

(d) Failure to specify a sum certain will render your claim invalid and may result in
forfeiture of your rights.

 

This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and
concerns the information requested in the letter to which this Notice is attached.
A. Authority: The requested information is solicited pursuant to one or more of the
following: 5°U.S.C. 301, 28 U.S.C. 501 et seq., 28-U.S.C. 2671 et seq,, 28 C.F.R.

PRIVACY ACT NOTICE

 

Part}14.

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B. Principal Purpose: The information requested is to-be used in evaluating claims.

C. Routine Use; See the Notices of Systems of Records for the agency to whom you are
submitting this form for this information.

D. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
requested information or to execute the form may render your claim “invalid.”

 

This notice is
response, in
information.

Branch, Atte
form(s) to these addresses.

 

PAPERWORK REDUCTION ACT NOTICE

solely for the purpose of the Paperwork Reduction Act, 44 U.S.C, 3501. Public reporting burden for this collection of information i is estimated to average 6 hours per
luding the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and*reviewing the Collection of
Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts
tion: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and-Budget. Do not.mail completed

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‘STANDARD FORM 95 REV. (2/2007) BACK
oe Case 1:19-cv-01023-CCC-CA Document 1 Filed 06/17/19 Page 37 of 54

. ATTACHMENT
This informal resolution deals with sexual assault/battery by.a now former employee
of the Bureau of Prisons. On 17 June 2017 I was sexually assaulted by Unit Secretary |
Katie Foulds at FCI Schuylkill. The mental abuse started in February 2017 and it event-
ually led to me being sexually assaulted in June of that year. I strongly feel that the
BOP has not done enough in terms of counseling me, besides allowing an advocate to see
me two (2) times after the incident was reported. Sexual abuse of. prisoners by staff
vpolate the constitution. I feel that I was forced to make a medical decision with the

looming threat that if I didnt do certain things, I would be transferred to another ins-

titution, behind this abuse.

The BOP has not helped in terms of the mental and physical abuse and it has been ©
over. a. year, and.it was-all.done-at- the hands of -one of -their-own: staff members res °°
00 counseling for the duration of my incarceration from an independent provider and —
2,000, 000. 00 for compensatory damages, mental and physical abuse, and the violation -
‘ my Etghth: Amendment ‘Fight to be free From cruel and unsual punishment

 

Respectfully submitted,

Jermaine Branford
124/74-052

 

 
 

Case 1:19-cv-01023-CCC-CA Document 1 Filed 06/17/19 Page 38 of 54

U.S. Department of Justice

Federal Bureau of Prisons —

 

Northeast Regional Office

U.S. Custom House ©
2nd & Chestnut Streets - 7" Floor
el Philadelphia, PA. 19106

 

April 8, 2019

Jermaine Branford, Reg. No. 12474-052
FCI Schuylkill

P.O. Box 759 en
Minersville, PA 17954 ©

Re: Administrative Clal
Claim No. TRT-NER-2

m Received April 1, 2019
O19-C

3-903520
Dear Mr. Branford:

This will acknowledge receipt of your administrative claim
for an alleged loss of personal property or personal injury at
FCI Schuylkill.

Under the provisions of the applicable federal statutes, we
have six months from the date of receipt to review, consider, and

adjudicate your claim. .

All correspondence regarding this claim should be addressed
to. Federal Bureau of Prisons, Northeast Regional Office, Room
701, U.S. Custom House, 2nd & Chestnut Street, Philadelphia,

Pennsylvania 19106. Ifthe circumstances surrounding this claim
change. in any fashion, you should ‘contact this office
immediately. Also, should your address change, you should

contact this office in writing accordingly.

Sincerely,
age

Darrin Howard
Regional Counsel

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Attachment 4
FCC Terre Haute
Attempt at Informal Resolution
Inmate Name: — Reg, No.: “Unit:
Branford, Jermaine 12474-052 - F-074L

 

 

 

Notice te Inmate: Ordinarily, prior to filing a Request for Administrative Remedy, BP-229 ( 3), you must attempt
to informally resolve your complaint with staff.

 

 

Dept Assigned: | | Due Date: |

 

Section 1: Briefly state inmate's complaint and requested corrective action(s):

_ SEE ATTACHED

 

 

Section 1a: ~ informally Resolved/Complaint Withdrawn

 

Inmate's signature Date Staff Printed Name/Signature

 

Section ib: ~ No informal Resolution/Progrees to BP-9

 

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ijmate's signature | Date Staff Printed Name/Signature

 

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{resolution could not be achieved. Dimes unirthes “ty 4 me Lb, would a

Section 2; Document efforts to resolve the matter to Include policies reviewed. Note any reasons an informal

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Section 3: DEPARTMENT HEAD REVIEW

 

 

 

 

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Dept. Head Name Printed//Signature ' Date

 

[The Department Head may assign to other departmental staff; however, the Department Head must sign as
having reviewed prior to retuming to the assigned Counselor. If the inmate agrees to informally resolve his
complaint, Section 2 does not need to be completed. Section 2 is only completed if the inmate declines to
‘informally resolve and requests to progress to the BP-9.

 

 

 
Case 1:19-cv-01023-CCC-CA Document 1 Filed 06/17/19 Page 40 of 54

a ; ATTACHMENT

This informal resolution deals with sexual assault/battery by a now former employee
of the Bureau of Prisons. On 17 June 2017 I was sexually assaulted by Unit Secretary
Katie Foulds at FCI Schuylkill. The mental abuse started in February 2017 and it event-
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| ; .
BOP has not done enough in ters of counseling me, besides allowing an advocate to see

me two (2) times after the incident was reported. Sexual. abuse of prisoners by staff
violate the constitution. I feel that I was forced to make a medical decision with the
looming threat that if.I didnt do certain things, I would be transferred to another ins-

titution, behind this abuse. _

Respectfully submitted,

Jennaine Branford
12474-052

 

 

 

 

 

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Case 1:19-cv-01023-CCC-CA Document 1. Filed 06/17/19 Page 41 of 54
' U.S. Department of Justice
Federal Bureau of Prisons

Federal Correctional Complex
Jerre Haute, Indiana

 

 

EAnstitution C Region L central

a E Unit

Receipt of
_ Administrative Remedy

inmate Name: Brant Ta LEM ‘UZ Reg. No.: [Rey UO5 2

Administrative Remedy No.: GL) A & Se 7 / S

Received on this | o _ dayof _\d¢ pe 2018.

—awowsk (000

 

 

| Signatire/Tifle of Staff

If Administrative Remedy is allowed to be resubmitted, it is due to a Unit Team staff
member by _ 9 “dh , 2018.

Edits received by Unit Team onthis ___ day of , 2018.

 

Signature/Title of Staff

 
us. DEPARTMENT OHSU dib2-Cv-01023-CCC-CA Docu ees FOR Ab 06/1 Aik ist Pegs: Ho RRAEDY

» Pou ral Bureau of Prisons

 

 

Type or use ball-point pen. If attachments are needed, PREY four. copies. A Additional instructions on reverse.

 

 

 

 

2:
srom! -Branford, Jermaine 42749052 F/74 THA
LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
Part |A- INMATE REQUEST ,

 

I am appealing the decision of SIS Lt. Baker, as just some boilerplate
response given to try to get an inmate to withdraw their claims. I was sexually assaulted by
Bureau of Prisons Employee Katie Foulds, nothing has been done in terms of real remedies.
Since|the incident, I had to request information for the Sexual Abuse Advocacy Service. This is
unacceptable, since what I am suffering from is the direct result of a Bureau employee. "Any
sexual assault of a prisoner by a prison employee constitutes cruel and unusual ;punishment.
Rodriguez v McClenning, 399 F.Supp. 2d 228, 237-38 (SD NY 2005). The BO ‘ABSOLUTELY
NOTHING to prevent this. I request compensation in the amount of $2,000,000.00 and paid

counseling until I release from BOP custody.

 

 

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my 2018 4K AAA Ae Bund. EX

DATE AL SIGNATURE OF REQUESTER”
Part B- RESPONSE / .

L ”

 

 

 

 

 

 

DATE; : . WARDEN OR REGIONAL DIRECTOR
If dissatisfied with this response, you may appeal to the Regional Director. Your appeal must be received in the Regional Office within 20 calendar days of the date of this response.

 

ORIGINAL: RETURN TO INMATE _ CASE NUMBER:

 

| 7 . CASE NUMBER:

Part C- RECEIPT
Return to: : :
| LAST NAME, FIRST, MIDDLE INITIAL . REG. NO. UNIT INSTITUTION

 

 

 

SUBJECT:

| _. DATE CP RECIPIENT’S SIGNATURE (STAFF MEMBER)

 

BP-229(13)

ARN anor
 

Case 1:19-cv-01023-CCC-CA Document 1 Filed 06/17/19 Page 43 of 54
Remedy No.: 946851-F1 FCC Terre Haute, IN
PART B - RESPONSE

This is in response to your Administrative Remedy receipted on July 16, 2018 in which you
allege staff misconduct. As relief, you request compensation in the amount of
$2,000,000.00 and paid counseling until released from the Bureau of Prisons.

A review of your allegation was conducted and indicated you were transferred from FCI
- Schuylkill, PA because of an ongoing staff investigation. As a result of the investigation you
were subsequently transferred to FCI Terre Haute, IN to accommodate your security and
programming needs. Psychology staff are aware of your situation and have provided
counseling along with a telephone number to the local Sexual Assault Victim Advocacy-
Council on Domestic Abuse to assist you.

All staff are held to a high standard of treating inmates fairly, impartially, and humanely.
Mistreatment of inmates is not tolerated. Therefore, this matter will be thoroughly reviewed
and if it is determined staff acted inappropriately, this issue will be forwarded to the proper
investigative authority. However, you will not receive information regarding the outcome of
any staff investigation.

Per Program Statement 1320.06, Federal Tort Claims Act, a claim for money damages for
personal injury or death and/or damage to or loss of property must be filed against the
United States by the injured party with the appropriate Federal agency for administrative
action. General provisions for processing administrative claims under the Federal Tort
Claims Act are contained in 28 CFR part 14. The provisions in this subpart describe the
procedures to follow when filing an administrative tort claim with the Bureau of Prisons.

Therefore, this. response to your Request for Administrative Remedy is for informational
purposes only.

If you are dissatisfied with this response, you may appeal to the Regional Director, North
Central Regional Office, Federal Bureau of Prisons, 400 State Avenue, Tower Il, Suite 800,
Kansas City, Kansas 66101. Your appeal must be received within 20 calendar days of the
date of this response. |

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Date FR. Bell, FC] Warden
 

Case 1:19-cv-01023-CCC-CA “Document 1 Filed 06/17/19 Page 44 of 54

U.S. Department of Justice
Federal Bureau of Prisons -

Federal Correctional Complex

Terre Haute, Indiana

 

 

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Receipt of -

Inmate Name: Branford _

Administrative Remedy No.: 946851

Received on this 4 __ day of

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Signature/Title of Staff =

_ Administrative Remedy

-Ri

Nn 7
IT NbW 2018.

Reg. No.: _ 12474-052

If Administrative Remedy is allowed to be resubmitted, it is due-to a Unit Team staff. -

member by , 2018.

Edits received by Unit Team_.on this

day of

 

 

Signature/Title of Staff

2018,

 
Case 1:19-cv-01023-CCC-CA Document1 Filed 06/17/19 Page 45,of 54
U.S. Department of Justice Regional Administrati temedy Appeal

  

Federal Bureau of Prisons

 

 

\. Type or use ball-point pen. If attachments are needed, submit four copies. One copy of the completed BP-DIR-9 including any attachments must be submitted

with this appeal. . ; . ee . a f
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LAST NAME, FIRST, MIDDLE INITIAL REG. NO. ' ‘UNIT INSTITUTION

Part A—REASON FOR APPEAL I a! € appealing the decision of the Warden, as just some boilerplate
response given to try to get an inmate to withdraw their claims. I was sexually assaulted by
Bureau of Prisons employee Katie Foulds, nothing has been done in terms of real remedies. I
was given a local Advocacy Service number, but nothing more. I understand that all staff are
held to a high standard of treating inmates fairly, impartially, and humanely. Mistreatment of
inmates is. not tolerated. We are beyond that, I was sexually assaulted by a BOP employee, we
can't |un-ring that bell and now its time to pony up to real world compensation. "Any sexual
assault of a prisoner by a prison employee constitutes cruel and unusual punishment. Rodriguez
v McClenning, 399 F. Supp 2d 228, 237-38 (SD NY 2005). The BOP did absolutely nothing to
prevent this, I request compensation in the amount of $2, 000, 000.00 and paid counseling until I
release from BOP P custody. .

From: .

 

 

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DATE ; / SIGNATURE OF REQUESTER

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REGIONAL DIRECTOR'S OFFICE
NORTH CENTRAL REGION

 

 

 

 

 

 

 

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DATE / REGIONAL DIRECTOR ~

If dissatisfied with this response, you may appeal to the General Counsel. Your appeal must be received in the General Counsel’s Gu within 30 calendar _
days of the date of this response. = { O
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ORIGINAL: RETURN TO INMATE CASE NUMBER:

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SUBIECT:

 

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Case 1:19-cv-01023-CCC-CA Document 1 Filed 06/17/19 Page 46 of 54

US. Department of Justice |

_ Federal Bureau of Prisons -.«... Regional Administrative Remedy Appeal.
North Central Regional Office Part B - Response

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Administrative Remedy Number: 946851-R1

   

This is in response to your Regional Administrative Remedy Appeal received in this office on
September 17, 2018, in which you allege you were sexually assaulted by a staff member while housed ~
at Federal Correctional Institution Schuylkill, Pennsylvania. For relief, you request monetary

compensation in the amount of $2,000,000 and paid counseling throughout your incarceration.

_ Program Statement 5324.12, Sexually Abusive Behavior Prevention and Intervention Program states,
“The agency shall ensure that an administrative or criminal investigation is completed for all allegations
of sexual abuse and sexual harassment.” Your original allegation was referred to the appropriate

authorities for investigation. _

| |
Regarding your claim for monetary compensation, monetary damages may not be awarded via the
administrative remedy-process. If you wish to seek monetary compensation based on the negligence
of staff, you must file your claim through the administrative procedures applicable to the basis of your
claim (i.e. 31 U.S.C. § 3723 or the Federal Tort Claims Act).

In reference to your request for counseling, Program Statement 5324.12, Sexually Abusive Behavior
Prevention and Intervention Program states, “The facility shall provide inmates with access to outside
victim advocates for emotional support services related to sexual abuse by giving inmates mailing
addresses and telephone numbers, including toll-free hotline numbers where available, of local, State,
or national victim advocacy or rape crisis organizations, and, for persons detained solely for civil
immigration purposes, immigrant services agencies. The facility shall enable reasonable
communication between inmates and these organizations and agencies, in as confidential a manner as
possible.” Accordingly, the institution provided you the above information, and staff from the
Psychology Department are available to address your concerns.

 

Based on the above, this response to your Regional Administrative Remedy Appeal is for informational
purposes only. ,

If you are dissatisfied with this response, you may appeal to the Office of General Counsel, Federal
Bureau of Prisons, 320 First Street, NW,; Washington, DC 20534. Your appeal must be received in the
Office of General Counsel within 30 days from the date of this response.

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Amber L. Nélson, Acting Regional Director

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EXTENSION OF TIME FOR RESPONSE - ADMINISTRATIVE REMEDY

DATE: NOVEMBER 5, 2018

FROM: ADMINISTRATIVE. REMEDY COORDINATOR
NORTH CENTRAL REGIONAL OFFICE

TO : JERMAINE BRANFORD, 12474-052
TERRE HAUTE FCI UNT: 2 OTR: FO4-117L

\DDITIONAL TIME IS NEEDED TO-RESPOND TO THE REGIONAL APPEAL
DENTIFIED BELOW. WE ARE EXTENDING THE TIME FOR RESPONSE AS PROVIDED
HOR IN THE ADMINISTRATIVE REMEDY PROGRAM STATEMENT.

Bp

EMEDY ID : 946851-R1

ATE RECEIVED : SEPTEMBER 17, 2018

ESPONSE DUE : NOVEMBER 16, 2018

UBJECT 1 : PREA - SEXUAL ABUSE BY STAFF
UBJECT 2 ,

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Case 1:19-cv-01023-CCC-CA Document1 Filed 06/17/19

RECEIPT - ADMINISTRATIVE REMEDY

DATE: SEPTEMBER 19, 2018:

FROM: ADMINISTRATIVE REMEDY COORDINATOR
NORTH CENTRAL REGIONAL OFFICE

TO : JERMAINE BRANFORD, 12474-052
TERRE HAUTE FCT: UNT: 2 QTR: F04-124L

THIS ACKNOWLEDGES THE RECEIPT OF THE REGIONAL APPEAL
IDENTIFIED BELOW: ,

 

REMEDY ID > 946851-R1

DATE RECEIVED : SEPTEMBER 17, 2018

RESPONSE DUE : OCTOBER 17, 2018

SUBJECT 1 : PREA - SEXUAL ABUSE BY STAFF

SUBJECT 2

 

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| Case 1:19-cv-01023-CCC-CA Document1 Filed 06/17/19 Page 49 of 54

EXTENSION OF TIME FOR RESPONSE, - ADMINISTRATIVE REMEDY

 

DATE: MAY 8, 2019

FROM: ADMINISTRATIVE REMEDY COORDINATOR
| CENTRAL OFFICE

“: JERMAINE BRANFORD, 12474-052

| TERRE HAUTE FCI UNT: 3 OTR: MO04-071L

sporeroxar TIME I§ NEEDED TO RESPOND TO THE CENTRAL OFFICE APPEAL
IDENTIFIED BELOW. WE ARE EXTENDING THE TIME FOR RESPONSE AS PROVIDED
FOR IN THE ADMINISTRATIVE REMEDY PROGRAM STATEMENT.

REMEDY ID : 946851-A3

DATE RECEIVED : APRIL 17, 2019

RESPONSE DUE : JUNE 16, 2019

SUBJECT 1 : PREA - SEXUAL ABUSE BY STAFF

SUBJECT 2
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ot ‘Case 1:19-cv- 01023- ‘CCC- CA Document 1 Filed 06/17/19 Page 50 of 54
* US. — of Justice Central Office Administrative Remedy Appeal

 

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Type or use ball-point pen. If attachments are needed, submit four copies. One copy each of the completed BP-DIR-9 and BP-DIR-10, including any attach—

ments)must be ane this appeal.

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DATE Paet - SIGNATURE OF RECIPIENT OF CENTRAL OFFICE APPEAL BP-231(13)
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